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     Fresno, California 93721
 3
     Telephone: (559) 497-6132
 4
     Attorney for Defendant,
 5   LENELE MARIA NUNEZ
 6
 7                        IN THE UNITED STATES DISTRICT COURT FOR THE
 8                                 EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                                 Case No. 1:15-CR-00046 LJO-SKO

11           Plaintiff,                                        STIPULATION TO CONTINUE
                                                               SENTENCING HEARING
12                  v.                                         AND ORDER THEREON

13   LENELE MARIA NUNEZ,                                       DATE: June 10, 2019
                                                               TIME: 9:30 a.m.
14          Defendant.                                         Courtroom Four

15                                                             Honorable Lawrence J. O'Neill

16
17          Defendant, LENELE MARIA NUNEZ, by and through her counsel, John F. Garland and
18
     the United States of America, by and through its counsel, McGregor W. Scott, United States
19
     Attorney and Kathleen A. Servatius, Assistant United States Attorney, hereby stipulate to continue
20
     the defendant's sentencing hearing from September 24, 2018 to June 10, 2019 at 9:30 a.m. This
21
22   continuance is necessary for the following reasons:

23   (1) The defendant had major surgery on November 10, 2016 to remove a cancerous tumor and her
24
     physician had determined that she needed chemotherapy treatments to be administered for six
25
     months (mid-January through mid-July).
26
     (2) In May 2017 the defendant was not responding to the chemotherapy treatments and her
27
28   physician discovered that a new tumor had developed and the cancer was very aggressive.
                                                          1
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     (3) The defendant's physician referred her to Stanford University Medical Center where the
 1
 2   physicians confirmed that the cancer was very aggressive and had advanced to stage four. The

 3   Stanford medical team scheduled the defendant for surgery on August 2, 2017. On July 31, 2017

 4   the defendant's August 2nd surgery was cancelled because the Stanford medical team determined
 5
     that radiation treatment was necessary in order to shrink the tumor and reduce the possibility that
 6
     the cancer would spread throughout the defendant's body.
 7
     (4) The defendant completed the radiation treatments in September 2017 but the treatments were
 8
 9   not successful in shrinking the new tumor. The radiation treatments caused the defendant severe

10   pain and discomfort resulting in hospitalization and a pulmonary embolism was discovered. The
11
     defendant is currently being treated with blood thinners and undergoing immunotherapy to combat
12
     the cancer and shrink the tumor. The defendant underwent immunotherapy treatments (treatment
13
     every three weeks) for five months which treatments proved to be successful in shrinking the
14
15   tumor.

16   (5) On August 3, 2018 the doctors discovered the defendant was nine weeks pregnant and the
17   immunotherapy treatment was placed on hold due to the risks to the defendant and the fetus. The
18
     Stanford medical team has advised the defendant that the immunotherapy should resume
19
     approximately four to six weeks after the baby is delivered and subject to the defendant's health
20
21   condition at that time.

22   (6) The Stanford medical team previously informed the defendant that the recovery period after
23   the surgery is 12 to 16 weeks, to be followed with more chemotherapy treatment. Because the new
24
     surgery has not been scheduled, counsel cannot calculate the time necessary for the defendant to
25
     complete all of the anticipated post-surgery treatment. In light of the foregoing, the parties have
26
27   agreed to continue the defendant's sentencing hearing to June 10, 2019.

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     (7) This continuance will also allow the defendant and the United States Probation Office to
 1
 2   include the defendant's most current health condition and medical treatment needs in the

 3   Presentence Investigation Report, which are relevant factors to be considered by the Court in

 4   determining a reasonable sentence. United States Probation Officer Ross Micheli has no objection
 5
     to the requested continuance.
 6
              The parties further stipulate that any delay resulting from this continuance shall be
 7
     excluded on the following basis:
 8
 9                     Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice
                       served by taking such action outweighs the best interest of the public and the
10                     defendant in a speedy trial.
11
12   Dated: September 10, 2018                                     /s/ John F. Garland
                                                                      John F. Garland
13                                                                 Attorney for Defendant
                                                                 LENELE MARIA NUNEZ
14
15   Dated: September 10, 2018                                        McGregor W. Scott
                                                                     United States Attorney
16
                                                                  /s/ Kathleen A. Servatius
17                                                             By: Kathleen A. Servatius
18                                                                  Assistant U.S. Attorney

19
                                                  ORDER
20
21            GOOD CAUSE APPEARING, based on the stipulation of the parties,

22   IT IS HEREBY ORDERED that the sentencing hearing for defendant LENELE MARIA
23   NUNEZ is continued to June 10, 2019 at 9:30 a.m.
24
25   IT IS SO ORDERED.
26
         Dated:      September 13, 2018                              /s/ Lawrence J. O’Neill _____
27                                                         UNITED STATES CHIEF DISTRICT JUDGE

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